     Case 1:14-cv-01050-RJA-HKS Document 60-2 Filed 06/11/18 Page 1 of 6



UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


AMERICAN PRECISION INDUSTRIES, INC.,                     DOCKET NO.: 14 CV 01050

                   Plaintiff,                            (RJA)

       vs.                                               MEMORANDUM OF LAW IN SUPPORT
                                                         OF FEDERAL INSURANCE
FEDERAL INSURANCE COMPANY, FIREMAN’S                     COMPANY’S MOTION PURSUANT TO
FUND INSURANCE COMPANY and NORTH                         FRCP 45 TO COMPEL COMPLIANCE
RIVER INSURANCE COMPANY                                  WITH SUBPOENA TO PRODUCE
                                                         DOCUMENTS
                 Defendants.

       Defendant, Federal Insurance Company (“Federal”) is entitled to an Order compelling

non-party API Heat Transfer Inc. (“Heat Transfer”) to comply with the Subpoena to Produce

Documents that was served upon Heat Transfer on October 7, 2016 (“Subpoena”) because Heat

Transfer has failed to provide the requested documents or lodge any objections despite

acknowledging receipt of the subpoena and despite repeated requests by Federal.

       This action involves an insurance coverage dispute.       Although not pleaded in its

Complaint, it has been revealed through discovery that Plaintiff American Precision Industries,

Inc. (“API”) is seeking reimbursement of millions of dollars it allegedly expended to defend

Heat Transfer and/or other entities in approximately 750 suits seeking damages for bodily injury

caused by asbestos. Given that API is seeking coverage for amounts to it expended to defend

Heat Transfer, the factual issue of whether Heat Transfer has its own coverage that would be

triggered by the suits is indisputably relevant. So too is the issue of whether Heat Transfer is

entitled to a defense and/or indemnification from API pursuant to a 2002 Stock Purchase

Agreement wherein API sold all of its shares of Heat Transfer to API Heat Transfer

Technologies Corporation. Due to the relevance and importance of these issues to Federal’s
     Case 1:14-cv-01050-RJA-HKS Document 60-2 Filed 06/11/18 Page 2 of 6



defense, Federal served the Subpoena on Heat Transfer demanding documents relevant to these

issues, among others. Yet, despite Federal’s acknowledged receipt of the Subpoena and despite

numerous requests to Heat Transfer’s counsel by Federal’s counsel, Heat Transfer has failed to

provide the subpoenaed documents.      Given the time lapse, Heat Transfer has waived any

objections. Accordingly, Federal is entitled as a matter of law to an Order compelling Heat

Transfer’s compliance with the Subpoena.

I.   FACTUAL BACKGROUND

       On October 7, 2016, my office caused to be served a Subpoena to Produce Documents

(“Subpoena”) on non-party API Heat Transfer Inc. (“Heat Transfer”) requiring production of

certain categories of documents by October 31, 2016. A true and correct copy of the Subpoena

and accompanying cover letter is attached hereto as Exhibit “A”. The cover letter accompanying

the Subpoena invited Heat Transfer to contact our office to discuss a mutually agreeable method

of production. See Exhibit “A”.

       The Subpoena demands production of the following documents:

              1.     True and correct copies of any and all documents pertaining to API Heat
                     Transfer Inc.’s incorporation, capitalization, founding and establishment.

              2.     True and correct copies of any and all documents pertaining to asset sales
                     or stock transactions between API Heat Transfer Inc. and American
                     Precision Industries Inc.

              3.     True and correct copies of any and all documents pertaining to API Heat
                     Transfer Inc.’s merger into API AirTech Inc.

              4.     True and correct copies of any and all documents pertaining to the
                     changing of API AirTech Inc.’s name to API Heat Transfer Inc.

              5.     True and correct copies of any and all documents pertaining to the merger
                     of API Basco Inc. and API Ketema Inc. and API Schmidt-Bretten Inc. into
                     API Heat Transfer Inc.

              6.     True and correct copies of any and all documents pertaining to
     Case 1:14-cv-01050-RJA-HKS Document 60-2 Filed 06/11/18 Page 3 of 6



                      transactions involving shares of stock issued by, or other assets owned by,
                      API Heat Transfer Inc. and/or API AirTech Inc.

              7.      True and correct copies of any and all documents pertaining to any
                      mergers, acquisitions, divestitures, spin-offs, or other transactions
                      impacting the corporate structure of API Heat Transfer Inc. since after the
                      execution of the Stock Purchase Agreement by and among American
                      Precision Industries, Inc., API Schdmidt-Bretten Beteiligungs GmbH,
                      Heat Transfer Guarantee Co. LLC, and API Heat Transfer Technologies
                      Corporation in 2002.

              8.      True and correct copies of any and all insurance policies issued to API
                      Heat Transfer Inc. providing general liability coverage for any period of
                      time since API Heat Transfer Inc.’s and/or API AirTech Inc.’s
                      incorporation.

See Exhibit “A”. Heat Transfer did not provide the subpoenaed documents or provide any

response by the October 31, 2016 deadline.

       On November 15, 2016, I spoke with a Mr. Bill Dunn, whom I understand was Heat

Transfer’s Chief Financial Officer and Chief Administrative Offer from April 2016 to October

2017. Mr. Dunn advised me that he forwarded the Subpoena to a Ms. Katriana Roh at the law

firm of Paul, Weiss, Rifkind, Wharton & Garrison LLP. On November 16, 2016, I sent an email

to Ms. Roh advising of my representation of Federal in this litigation, attaching a copy of the

Subpoena, and asking her to contact me to discuss the Subpoena. A copy of the email is attached

hereto as Exhibit “B”. On November 18, 2016, I spoke with Ms. Roh telephonically and

reiterated Federal’s demand that Heat Transfer comply with the Subpoena.

       Having received no response to the Subpoena, I again spoke with Ms. Roh telephonically

on December 13, 2016 and advised that if Heat Transfer did not comply with the Subpoena,

Federal would have no choice but to file a motion for compliance.

       Still having received no response to the Subpoena, I sent Ms. Roh an email on January

24, 2017 confirming Heat Transfer’s failure to comply with the Subpoena and advising that
     Case 1:14-cv-01050-RJA-HKS Document 60-2 Filed 06/11/18 Page 4 of 6



Federal would file a motion to enforce the subpoena if Heat Transfer did not produce the

subpoenaed documents by January 27, 2017. A copy of the email is attached hereto as Exhibit

“C”. I again spoke with Ms. Roh telephonically on January 25, 2017, explained the relevance of

the subpoenaed documents, and demanded that Heat Transfer comply with the Subpoena.

Despite my repeated requests, Heat Transfer did not comply with the Subpoena.

       On March 20, 2018, I sent an email to Ms. Roh “reaching out one more time in an

attempt to secure API Heat Transfer Inc.’s response to the Subpoena to Product Documents

which was served on October 7, 2016” and advising that if the subpoenaed documents were not

received within ten days, Federal would have no choice but to utilize motions practice. A copy of

the email is attached hereto as Exhibit “D”. Ms. Roh responded via email on March 28, 2018,

providing a brief, unverified summary of certain corporate transactions involving Heat Transfer.

A copy of the email is attached hereto as Exhibit “E”. Ms. Roh did not provide any of the

documents demanded in the Subpoena.

       Despite receiving service of the Subpoena and repeated requests for service, Heat

Transfer has never provided the documents demanded in the Subpoena nor lodged any

objections.

II. ARGUMENT

       Federal is entitled as a matter of law to an Order compelling Heat Transfer to produce the

subpoenaed documents because Heat Transfer failed without any excuse to respond or object the

Subpoena. Pursuant to FRCP 45(g), “[t]he court for the district where compliance is required …

may hold in contempt a person who, having been served, fails without adequate excuse to obey

the subpoena or an order related to it.” FRCP 45(g). A motion under FRCP 45 is the procedural

mechanism to enforce compliance with a subpoena. See, e.g., Ellison v. Allstate Indem. Co.,
     Case 1:14-cv-01050-RJA-HKS Document 60-2 Filed 06/11/18 Page 5 of 6



2013 U.S. Dist. LEXIS 168253, at *5 (W.D.N.Y. Nov. 26, 2013) (quoting Cont'l Ins. Co. v. Atl.

Cas. Ins. Co., 2008 U.S. Dist. LEXIS 64146 (S.D.N.Y. 2008) ("Rule 45(e) provides the only

authority in the Federal Rules of Civil Procedure for the imposition of sanctions against a

nonparty”); NXIVM Corp. v. Bouchey, 2011 U.S. Dist. LEXIS 123137, at *6 (N.D.N.Y. Oct. 24,

2011) (“the judicial power to hold a non-party in contempt is the primary mechanism by which a

court can enforce a subpoena”).

       Here, Heat Transfer has been served with the Subpoena and has failed without adequate

excuse to obey the Subpoena. To the extent Heat Transfer had any objections, which is denied,

such objections have been waived because they were not lodged within the time period for

compliance with the Subpoena. See, e.g., In re in re Sumar, 123 F.R.D. 467, 471 (S.D.N.Y.

1988) (quoting Fed. R. Civ. P. 45(b) (“Objections to a subpoena duces tecum must be ‘made

promptly and in any event at or before the time specified in the subpoena for compliance

therewith . . . .’”). Accordingly, Federal is entitled as a matter of law to an Order compelling

Heat Transfer to produce the subpoenaed documents.

III. CONCLUSION

        Federal is entitled as a matter of law to an Order compelling Heat Transfer to comply

with the Subpoena. The subpoenaed documents are indisputably relevant to Federal’s defenses

in the instant action and Heat Transfer acknowledged receipt of the Subpoena, yet Heat Transfer

never produced the subpoenaed documents. Accordingly, Federal respectfully moves this

Honorable Court to issue an Order in the form attached hereto.
     Case 1:14-cv-01050-RJA-HKS Document 60-2 Filed 06/11/18 Page 6 of 6



Dated: June 11, 2018                       By: /s/ Emmett E. McGowan, III
                                              Emmett E. McGowan, III
                                              COHN BAUGHMAN & SERLIN
                                              533 Fellowship Road, Suite 120
                                              Mt. Laurel, NJ 08054
                                              Phone: (856) 380-8900
                                              Fax: (856) 380-8901
                                              Attorney for Federal Insurance Company
